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The following constitutes the ruling of the court and has the force and effect therein described.



 Signed December 11, 2019
______________________________________________________________________




                                  UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF TEXAS
                                           DALLAS DIVISION

      In re:                                             §
                                                         §
      HIGHLAND CAPITAL MANAGEMENT,                       § Case No. 19-34054
      L.P.,                                              § Chapter 11
                                                         §
      Debtor.                                            §
                                                         §

                                    ORDER GRANTING JOINT MOTION TO
                                     CONTINUE STATUS CONFERENCE


               On this day came on for consideration the Joint Motion to Continue Status Conference (the

     “Motion”) filed by Highland Capital Management, L.P. (the “Debtor”) and the Official Committee

     of Unsecured Creditors (collectively, the “Parties”). The Court finds that the request is reasonable

     and should be granted.

               It is therefore,



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      ORDERED that the Motion is GRANTED; and it is further

      ORDERED that the Status Conference currently set for December 12, 2019 at 9:30 a.m. is

hereby continued to Wednesday, December 18, 2019 at 9:30 a.m.



                               # # # END OF ORDER # # #




ORDER GRANTING JOINT MOTION TO CONTINUE STATUS CONFERENCE                         PAGE 2 OF 2
